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Client Ref:
FIDAVIT ERVI

In the United States District Court for the Western District of Pennsylvania
Docket Number: 2:20-CV-00966-NR
Filed On: 6/30/2020

 

Donald J. Trump for President, Inc.
Plaintiff(s),
Vs.

Kathy Boockvar, in her capacity as Secretary of the Commonwealth of Pennsylvania, et al.
Defendant(s).

 

State of Pennsylvania: County of Dauphin ss: Terry Bumgardner, being duly sworn, deposes and says: that deponent is not a party to this
action, is over 18 years of age and resides in the State of Pennsylvania.

That on 7/15/2020 at 1:58 PM., at 150 N. Queen St, Suite 117, Lancaster, PA 17603
Deponent attempted to serve the within Civil Cover Sheet; Local Rule 7.1 Disclosure Statement; Praecipe of

Appearance; Certificate of Service; Summons in a Civil Action; Verified Complaint for Declaratory and
Injunctive Relief; Motion for Speedy Declaratory Judgment and Expedited Discovery; Certificate of Service;

(Proposed) Order Granting Plaintiffs' Motion for a Speedy Declaratory Judgment and Expedited Discovery
On Randell Wenger, Lancaster County- Chief Clerk- Board of Elections

GOVERNMENTAL: A governmental subdivision by delivering thereat a true copy of each to Natalie Scinta personally, deponent knew
said governmental subdivision so served to be the governmental subdivision described in legal papers and knew said individual to be

Clerical Specialist / Authorized to accept service thereof,

DESCRIPTION: Deponent further states that the description of the person actually served is as follows:
Gender: Female Race/Skin: White Age: 45-55 Yrs. Weight: 130-150Ibs Height: 5' 4" - §' 8" Hair: Black Other:

Natalie accepted service without an issue. She confirmed that she was authorized to accept service,

 

Commonwealth-of Pennsylvania - Notary Seal
John F. Shinkowsky, Notary Public
Dauphin County
My commission expires September 28, 2022
Commission number 115} 303

Sworn to before me on 7/20/2020 s, a (S 0
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A J 4 ft i i Terry Bumgardner
NOTARY PUBLI PPLS Ref# 20-17310
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Process Plus Legal Service LLC
2800 Turnpike Drive, Suite 1, Hatboro, PA 19040
